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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

  LINDA M. JANCIK, et al.,


             Plaintiffs,
                   v.                             CIVIL ACTION FILE
                                                  NO. 1:22-CV-644-TWT
  WEBMD LLC,

             Defendant.


                               OPINION AND ORDER

         This is a putative class action case. It is before the Court on Plaintiff

Linda M. Jancik’s Motion to Certify Class [Doc. 83]. For the reasons set forth

below, Plaintiff Jancik’s Motion to Certify Class [Doc. 83] is GRANTED.

                                  I.   Background

         Plaintiff Jancik alleges that Defendant WebMD LLC (“WebMD”)

violated the Video Privacy Protection Act (“VPPA”) by improperly disclosing

her and other putative class members’ personally identifiable information

(“PII”) to Facebook. 1 (3d Am. Compl. ¶¶ 49–51, 96–101 [Doc. 71]). Specifically,

by installing the “Facebook Pixel” tracking tool on webmd.com, WebMD

allegedly disclosed the video-viewing activity of its users to Facebook without

their consent. (Id. ¶¶ 24, 49–51). Jancik seeks four types of relief for her VPPA

claim:       (1) declaratory   judgment,   (2) injunctive   and   equitable   relief,



        The Court notes that it adopts the parties’ practice of often using
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“Facebook” rather than “Meta.” Facebook’s parent company is Meta.
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(3) statutory damages of $2,500 for each Video Privacy Protection Act violation

under 18 U.S.C. § 2710(c); and (4) attorney’s fees and costs. (Id. ¶ 101). The

relevant facts are as follows.

      WebMD offers online health information through the website

webmd.com. (Id. ¶ 2). This online information includes both text and video

content. (See id. ¶ 2). WebMD generates revenue by “sell[ing] advertising space

on the videos themselves” and by “harvest[ing] data that sponsors can then

leverage for their own products.” (Id. ¶ 14).

      Jancik alleges that WebMD has used the Facebook Pixel since at least

2020. (See Br. in Supp. of Pl.’s Mot. to Certify Class, at 4 (quoting Br. in Supp.

of Pl.’s Mot. to Certify Class, Ex. 5, 143:25–144:5 [Doc. 84-7])). The Facebook

Pixel is a piece of code offered by Meta that a company can install on its website

to track the activity of its site visitors. (3d Am. Compl. ¶ 20). The Pixel records

information such as the metadata for a webpage that a user visits and a user’s

button clicks, then transmits that information to Facebook. (Id. ¶ 21). Once the

data is received, Facebook matches (or attempts to match) the user’s activity

to a Facebook profile so that WebMD can distribute targeted advertisements

to that user on Facebook. (Id. ¶¶ 99, 19; see also id. ¶¶ 18–19 (describing how

this data can also be utilized to send targeted advertisements to those

identified as similar to the tracked webmd.com users)).




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      According to Jancik, WebMD directed the Facebook Pixel to collect and

transmit to Facebook information such as the URL of the webpages a user

views, users’ button clicks on those webpages, and the titles and descriptions

of videos on those webpages (“Event Data”). (Id. ¶¶ 24–29). For an individual

accessing webmd.com on a browser already logged into their Facebook account,

the Facebook Pixel automatically transmits a “c_user” cookie to Facebook as

well, which includes the user’s “Facebook ID.” (Id. ¶¶ 30, 40, 53). A Facebook

ID is a numerical code unique to each Facebook profile, and this c_user cookie

is a way that Facebook can directly match a user’s Event Data to a Facebook

profile. (Id. ¶ 53). Further, for an individual accessing webmd.com on a browser

already subscribed to WebMD’s newsletter, WebMD allegedly directed the

Facebook Pixel to additionally transmit the subscriber’s email address to

Facebook alongside the Event Data—through a process called “Advanced

Matching.” (Id. ¶¶ 45, 47). 2 The addition of a WebMD user’s email address

helps Facebook match the Event Data to the user’s Facebook profile, if one

exists. (Id. ¶¶ 47–48). Again, once the video-viewing activity of webmd.com

users is linked to those users’ Facebook profiles, WebMD can send targeted



      2 As best the Court can tell, Jancik alleges that WebMD also uploads

subscribers’ email addresses and certain user activity directly to Facebook
through a “Customer List” process that appears independent from the
Facebook Pixel. (Id. ¶¶ 59–60). Although the full extent and content of this
manually transmitted data is not entirely clear to the Court, it appears to allow
Facebook to similarly match users’ video-viewing activity to their Facebook
profiles.
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advertisements—related to the video-viewing activity—to those users on

Facebook.

       Jancik alleges that WebMD’s disclosure of its users’ video-viewing

activity along with their emails and/or Facebook IDs violates the Video Privacy

Protection Act. (Id. ¶¶ 49–51, 3–6). Beyond certain limited disclosures, the

Video Privacy Protection Act provides that “[a] video tape service provider who

knowingly discloses, to any person, personally identifiable information

concerning any consumer of such provider shall be liable to the aggrieved

person . . . .” 18 U.S.C. § 2710(b)(1); see also id. § 2710(b)(2)(A)–(F) (listing the

circumstances in which a video tape service provider may disclose PII,

including disclosing PII “to the consumer,” “to any person with the informed,

written consent . . . of the consumer,” “to any person” for the purpose of

marketing to the consumer “if the disclosure is solely of the names and

addresses of consumers”). The VPPA defines “personally identifiable

information” as “includ[ing] information which identifies a person as having

requested or obtained specific video materials or services from a video tape

service provider.” Id. § 2710(a)(3). A “video tape service provider” includes “any

person, engaged in the business, in or affecting interstate . . . commerce, of . . .

delivery of prerecorded video cassette tapes or similar audio visual materials.”

Id. § 2710(a)(4).




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       Pending before the Court is Jancik’s Motion to Certify Class [Doc. 83].

She proposes the following class (the “Class”):

       All persons in the United States who, from February 17, 2020
       through the date on which class notice is disseminated, had the
       same email address associated with a subscription to webmd.com
       and a Facebook account, and for whom there is associated Event
       Data in the possession of Meta Platforms, Inc. showing their
       video-viewing behavior on webmd.com.

(Br. in Supp. of Mot. to Certify Class, at 11). And she alternatively proposes

the following subclass (the “Subclass”):

       All persons in the United States who, from February 17, 2020
       through the date on which class notice is disseminated, had the
       same email address associated with a newsletter subscription to
       webmd.com and a Facebook account, and for whom there is
       associated Event Data in the possession of Meta Platforms, Inc.
       showing their video-viewing behavior on webmd.com that was
       accessed through a webmd.com newsletter.

(Id. at 11–12).

                             II.     Legal Standard

       Federal Rule of Civil Procedure 23(c)(1)(A) provides that a court must

“[a]t an early practicable time after a person sues or is sued as a class

representative . . . determine by order whether to certify the action as a class

action.” Fed. R. Civ. P. 23(c)(1)(A).

       Courts must first assess whether a proposed class is “adequately defined

and clearly ascertainable.” 3 Cherry v. Dometic Corp., 986 F.3d 1296, 1302


       3 Before proceeding to the Rule 23(a)(1)–(4) requirements, courts
technically must first determine that a plaintiff has standing to sue. Fox v.
Ritz-Carlton Hotel Co., 977 F.3d 1039, 1046 (11th Cir. 2020) (quoting
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(11th Cir. 2021) (quoting Little v. T-Mobile USA, Inc., 691 F.3d 1302, 1304

(11th Cir. 2012)). If the class meets this ascertainability requirement, courts

must then assess whether the class representatives have satisfied the four

requirements outlined in Rule 23(a):

      (1) the class is so numerous that joinder of all members is
          impracticable;

      (2) there are questions of law or fact common to the class;

      (3) the claims or defenses of the representative parties are typical
          of the claims or defenses of the class; and

      (4) the representative parties will fairly and adequately protect
          the interests of the class.

Fed. R. Civ. P. 23(a). Lastly, the proposed class must also satisfy at least one

of the alternative requirements in Rule 23(b), which are found in Rules 26(b)(3)

and 26(b)(2) for our purposes. See Herrera v. JFK Med. Ctr. Ltd. P’ship, 648 F.

App’x 930, 933 (11th Cir. 2016). A class can be certified under Rule 23(b)(3) if

“[1] the questions of law or fact common to class members predominate over

any questions affecting only individual members, and . . . [2] a class action is



Prado-Steiman ex rel. Prado v. Bush, 221 F.3d 1266, 1279 (11th Cir. 2000)).
Here, Jancik has provided records that indicate that WebMD’s use of the
Facebook Pixel caused her video-viewing behavior (which is associated with
her Facebook ID) to be shared with Facebook, and the VPPA likely provides
for damages in such instances. (Br. in Supp. of Pl.’s Mot. to Certify Class, at 7–
8 (citing Br. in Supp. of Pl.’s Mot. to Certify Class, Ex. 4 [Docs.84-6, 119])).
Moreover, with respect to the injunctive and declaratory relief sought, Jancik
alleges that she is a Facebook user who continues to “frequently visit[ ]
WebMD to . . . watch videos.” (3d Am. Compl. ¶¶ 63–64). WebMD does not
dispute that Jancik has standing as Named Plaintiff.
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superior to other available methods for fairly and efficiently adjudicating the

controversy.” Fed. R. Civ. P. 23(b)(3). A class can be certified under

Rule 23(b)(2) if a defendant has “acted or refused to act on grounds that apply

generally to the class, so that final injunctive relief or corresponding

declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ.

P. 23(b)(2).

       The party seeking class certification bears the burden of proving that

these requirements are satisfied. Valley Drug Co. v. Geneva Pharms., Inc., 350

F.3d 1181, 1187 (11th Cir. 2003); Brown v. Electrolux Home Prods., Inc., 817

F.3d 1225, 1234 (11th Cir. 2016) (“[The Plaintiff] must affirmatively

demonstrate his compliance with Rule 23 by proving that the requirements are

in fact satisfied.” (quotation marks and citation omitted)). The decision to grant

or deny class certification lies within the sound discretion of the district court.

Klay v. Humana, Inc., 382 F.3d 1241, 1250 (11th Cir. 2004), abrogated in part

on other grounds by Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008);

Armstrong v. Martin Marietta Corp., 138 F.3d 1374, 1386 (11th Cir. 1998) (en

banc). When considering the propriety of class certification, the court should

not conduct a detailed evaluation of the merits of the suit. Eisen v. Carlisle &

Jacquelin, 417 U.S. 156, 177–78 (1974). Nevertheless, the court must perform

a “rigorous analysis” of the particular facts and arguments asserted in support

of class certification. Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S. 147, 161


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(1982); Gilchrist v. Bolger, 733 F.2d 1551, 1555 (11th Cir. 1984). Frequently,

that “rigorous analysis” will entail some overlap with the merits of the

plaintiff's underlying claim. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351–

52 (2011).

                             III.   Discussion

      Ultimately, the Court grants Jancik’s Motion with respect to the

proposed Class. Because the proposed Class meets all class certification

requirements and Jancik appears to have proposed the Subclass only as an

alternative to certifying the proposed Class, the Court declines to rule on the

proposed Subclass. The Court discusses the Rule 23(a), Rule 23(b)(3), and

Rule 23(b)(2) requirements in turn below.

   A. Rule 23(a)

      1. Class Definition and Ascertainability

      Before the Court can turn to the rest of the Rule 23(a) requirements, it

must determine whether the proposed Class is “adequately defined and clearly

ascertainable.” Cherry, 986 F.3d at 1302 (quoting Little, 691 F.3d at 1304); see

also id. at 1302–03 (“[A]scertainability . . . is an implied prerequisite to the

requirements of Rule 23(a).”). The Eleventh Circuit has traditionally treated

the class definition and ascertainability prongs as a single inquiry, explaining:

“[A] proposed class is ascertainable if it is adequately defined such that its

membership is capable of determination.” Id. at 1304. A class definition cannot


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be adequate if it relies on “vague or subjective criteria.” Id. at 1302. In the

Eleventh Circuit, proof of administrative feasibility is not a requirement of nor

in any way “part of” the ascertainability analysis (though it is a factor the

Court may consider in its separate Rule 23(b)(3) analysis). Id. at 1303; see also

id. at 1304 (“[A]side from its limited relevance to Rule 23(b)(3)(D),

administrative feasibility is entirely unrelated to either Rule 23(a) or (b).”).

      Here, the Court concludes that the proposed Class is “adequately

defined and clearly ascertainable.” See id. at 1302 (quoting Little, 691 F.3d at

1304). The Court agrees with Jancik that the proposed Class is specific and

relies on criteria that can be objectively determined, and that is sufficient to

satisfy this requirement. As the Court understands it, Jancik proposes to

(1) obtain records from both WebMD and Facebook and then (2) analyze these

records to ultimately identify the proposed Class. (Reply Br. in Supp. of Pl.’s

Mot. to Certify Class, at 1 [Doc. 95]). She explains that WebMD possesses the

list of its newsletter subscribers’ email addresses and that Facebook

possesses—as a result of the Facebook Pixel—Event Data associated with

those email addresses. (Br. in Supp. of Pl.’s Mot. to Certify Class, at 19–20

[Doc. 83-1]). According to Jancik, Meta has testified that it can determine if

there is a Facebook account associated with a given email address, and it has

also shown that it can produce webmd.com Event Data once a Facebook

account has been identified—as was the case for Event Data produced by Meta


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for Plaintiff Jancik. (Id. at 1, 19–20). Jancik argues that the Event Data will

clearly and objectively indicate whether a WebMD subscriber viewed a video

because it will include the URL that the subscriber visited and the URL will

include the word “video” to indicate the page is a video. (Id. at 3). As an

example, Jancik points to the Event Data that Facebook produced for herself,

which shows that she visited “www.webmd.com/hypertension-high-blood-

pressure/video/blood-pressure-foods.” (Id.). The URL includes only a video

about high blood pressure and a corresponding transcript. Jancik’s expert

report further states that identifying videos viewed from Event Data tables

produced by Meta could be analyzed through an automated or batch process,

with quality assurance checks. 4 (Reply Br. in Supp. of Pl.’s Mot. to Certify

Class, Ex. 39 (“Verkhovskaya Report”) ¶¶ 57–58 [Doc. 96-9]).




      4  In its Sur-Reply, WebMD asks the Court to exclude from evidence
Anya Verkhovskaya’s expert report under Daubert. (Def.’s Reply Br. in Opp’n
to Pl.’s Mot. to Certify Class, at 8–9). The Court ultimately concludes that
Verkhovskaya’s report should not be excluded. The relevant underlying facts—
that Meta can associate an email address with a Facebook account and that
Meta has produced Event Data for Plaintiff Jancik from her Facebook ID—
appear to be true based on the deposition of witness Tobias Wooldridge
[Doc. 96-7] and Plaintiff Jancik’s produced Event Data [Doc. 4]. In other words,
these facts appear true independent of Verkhovskaya’s report. It seems that
Verkhovskaya’s report summarizes these facts and then states that, as a result
of her prior experience with “.SQL staging tables,” she believes that sifting
through the Event Data tables could be done in a batch or automated process
(with quality assurance checks). (Verkhovskaya Report ¶¶ 49, 58).
Verkhovskaya has demonstrated that her methodology in this regard would be
adequate and reliable. (See id. ¶¶ 46–53). Therefore, the Court declines to
exclude Verkhovskaya’s report at this time.
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      WebMD argues that the proposed Class is not adequately defined or

ascertainable for several reasons, but the Court finds these arguments

unavailing at this time. WebMD first argues that the proposed Class is not

“adequately defined” because it does not define the phrase “subscription to

webmd.com.” (Def.’s Resp. Br. in Opp’n to Pl.’s Mot. to Certify Class, at 11

[Doc. 92]). The Court, however, agrees with Jancik that “[i]t is difficult to

fathom what the possible confusion is,” as there is clearly a button on

webmd.com where users can “subscribe” to WebMD’s newsletter using their

email address. (Reply Br. in Supp. of Pl.’s Mot. to Certify Class, at 2–3; id.,

Ex. 35, at 1 [Doc. 96-5]). As Jancik explains, “[w]hen a user enters their email

address into this box and clicks the button, they become a subscriber to

WebMD’s email newsletter and the email address that they enter is associated

with a subscription to webmd.com.” (Reply Br. in Supp. of Pl.’s Mot. to Certify

Class, at 3 (citation omitted)).

      WebMD next argues that Jancik’s proposal to rely on Facebook to

identify Event Data based on email addresses is “untested and insufficient.”

(Def.’s Sur-Reply in Opp’n to Pl.’s Mot. to Certify Class, at 2 [Doc. 123]). It

asserts that it “is not aware of any case where Meta provided such data on a

class basis” and that the testimony offered by Jancik to the contrary is

“overstated” and too “vague.” (Id. at 2–3 & 3 n.1). To be clear, Jancik offered

the following testimony from Tobias Woolridge:


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       Q: [ ] So assuming they are a Facebook user, can Meta use
       someone’s email address that they have on record with their
       account to find their Facebook user ID?
       ...
       [A]: I suspect that that would be possible.
       ...
       Q: . . . You testified a moment ago that you can use an email
       address to locate a Facebook ID. Do you recall that testimony?

       A: I believe that you can probably do that.

(Reply Br. in Supp. of Pl.’s Mot. to Certify Class, Ex. 37 (“Woolridge Dep.”), at

221:11–222:10 [Doc. 96-7]). As of the date of his testimony, Tobias Woolridge

was a senior software engineer on Meta’s Signals team, “which bears primary

responsibility for maintaining and updating the Meta Pixel code.” (Br. in Supp.

of Pl.’s Mot. to Certify Class, Ex. 2, ¶ 1 [Doc. 84-4]).

       Here, Jancik has offered testimony directly from Meta affirming that

Meta “probably” can “use an email address to locate a Facebook ID,” and thus

locate the webmd.com Event Data associated with that Facebook ID. (See

Woolridge Dep. at 222:7–10). WebMD has not offered testimony to the

contrary; rather, WebMD appears to merely assert that “probably” is not good

enough without additional proof or details. (See Def.’s Sur-Reply in Opp’n to

Pl.’s Mot. to Certify, at 2–4). Although Woolridge’s testimony is not a definitive

account of Facebook’s capabilities, the Court finds it sufficient to satisfy

Jancik’s burden with respect to whether the proposed Class is capable of being

determined and thus ascertainable. The Court is especially comfortable with

this finding amid Jancik’s other allegations and evidence that show companies

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use Facebook’s advertising tools and capabilities precisely because Facebook

can supposedly match data such as email addresses to an individual’s

Facebook profile and that Facebook advertises itself in this way. (See, e.g., 3d

Am. Compl. ¶¶ 47–48, 58–60 (referring to Facebook’s own descriptions of its

advertising tools)).

      Lastly, WebMD argues that the proposed Class cannot be ascertained

because Jancik’s proposed method “fails to account” for the following

possibilities, which would require individualized proof to overcome: “intended

video content was never added to a URL”; “video content was added, but

inaccessible at the time visited”; “the video was removed before the user

visited”; or the person accessing the video is different from the owner of the

account or device tracked. (Def.’s Sur-Reply in Opp’n to Pl.’s Mot. to Certify

Class, at 4–6). As an initial matter, the Court notes that these concerns would

appear to veer toward the realm of administrative feasibility, which is not a

factor or requirement in the present ascertainability inquiry. But, nonetheless,

the Court concludes that WebMD’s concerns appear entirely speculative at this

point in time and do not defeat the ascertainability of the Class. See Rivera v.

Equifax Info. Servs., LLC, 341 F.R.D. 328, 345 (N.D. Ga. 2022) (“[The

Defendant’s] arguments about an overbroad class are based on speculation.

And where the potential that some number of individuals [are not actually

claimants] is hypothetical, courts should not allow such ‘speculation and


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surmise to tip the decisional scales’ against class certification.”). WebMD does

not point to any instances in which its concerns became a reality nor does it

point to any evidence regarding these concerns being anything more than

exceedingly rare potential exceptions. Plainly, the idea that class certification

should be denied merely due to a possibility at this stage that a website gave a

404 error or a family member used someone else’s computer seems absurd.

Moreover, it does not seem unreasonable that a claims process could be

fashioned to help further verify whether a claimant meets the Class criteria,

in addition to using the Event Data gathered by WebMD and Facebook. Should

the proposed Class prove to be unascertainable in the future, however, WebMD

may move to de-certify the Class. Therefore, given all the above, the Court

finds that the proposed Class satisfies the ascertainability requirement.

      2. Numerosity

      A class must be “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). Whether joinder is impracticable

“depends on many factors, including, for example, the size of the class, ease of

identifying its members and determining their addresses, facility of making

service on them if joined and their geographic dispersion.” J.M. ex rel. Lewis v.

Crittenden, 337 F.R.D. 434, 447 (N.D. Ga. 2019) (quoting Kilgo v. Bowman

Transp., Inc., 789 F.2d 859, 878 (11th Cir. 1986)). Mere numbers are not

outcome determinative, but courts generally presume a class containing more


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than forty members satisfies the numerosity requirement. Cox v. Am. Cast

Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986). “When the exact number

of class members cannot be ascertained, the court may make ‘common sense

assumptions’ to support a finding of numerosity.” Susan J. v. Riley, 254 F.R.D.

439, 458 (M.D. Ala. 2008) (quoting Evans v. U.S. Pipe & Foundry Co., 696 F.2d

925, 930 (11th Cir. 1983)); see also Vega v. T-Mobile USA, Inc., 564 F.3d 1256,

1267 (11th Cir. 2009) (finding that, while a plaintiff “need not show the precise

number of members in the class,” the plaintiff must “bear[ ] burden of making

some showing . . . that the class actually certified meets the numerosity

requirement.” (citation omitted)). If the numerosity inquiry remains a close

call, “a balance should be struck in favor of a finding of numerosity, since the

court has the option to decertify pursuant to Rule 23(c)(1).” Crittenden, 337

F.R.D. at 447 (quoting Evans, 696 F.2d at 930).

      Based on WebMD’s records, Jancik has identified at least 550,213 email

addresses corresponding to newsletter subscribers “associated with videos

accessed on webmd.com” (relevant to the Class), and she has identified at least

269,189 email addresses “associated with videos accessed on webmd.com by

clicking through newsletter links specifically” (relevant to the Subclass). (Br.

in Supp. of Pl.’s Mot. to Certify Class, at 13 (citing Br. in Supp. of Pl.’s Mot. to

Certify Class, Ex. 25)). These numbers reflect data from 2021 and 2022 alone,

though the Class includes parts of 2020, 2023, and 2024. (Reply Br. in Supp. of


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Pl.’s Mot. to Certify Class, at 9–10). According to Jancik, “WebMD’s use of the

Pixel means that it sent all of this data to Meta,” and numerosity is thus

readily met. (Br. in Supp. of Pl.’s Mot. to Certify Class, at 14).

      WebMD disputes whether the numerosity requirement is met, relying

on Martinez v. D2C, LLC to show that a district court rejected almost

“identical” arguments to those presented by Jancik. (See Def.’s Sur-Reply Br.

in Opp’n to Pl.’s Mot. to Certify Class, at 10 (citing Martinez v. D2C, LLC, 2024

WL 4367406 (S.D. Fla. Oct. 1, 2024)); see also Def.’s Resp. Br. in Opp’n to Pl.’s

Mot. to Certify Class, at 17 (arguing similarly that Jancik’s numerosity

argument relies on “sheer speculation”)). WebMD makes two primary

arguments in this regard. First, WebMD argues that it would be “mere

speculation,” as in Martinez, to conclude that the Class is sufficiently

numerous based on the assumption that the “mere presence of the Meta Pixel

on [WebMD’s] website resulted in the transmission of tens of thousands of

[WebMD] subscribers’ personally identifiable information from [WebMD] to

Meta.” (See Def.’s Sur-Reply Br. in Opp’n to Pl.’s Mot. to Certify Class, at 10–

11 (alterations in original) (quoting Martinez, 2024 WL 4367406, at *6)). The

Martinez court stated that the plaintiff’s estimates of the number of newsletter

subscribers who viewed certain videos “t[old] the Court nothing” about the

percentage of those viewers were “were also logged in to their own Facebook

accounts, through the same browser, and on the same device on which they


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viewed [the] video[s].” Martinez, 2024 WL 4367406, at *7. That percentage

could theoretically be so high, according to the reasoning in Martinez, that the

Class may not be numerous. Second, WebMD argues that a showing that one

plaintiff’s Event Data was shared with Facebook, as is the case here and was

the case in Martinez, is not sufficient for a court to infer numerosity. (Def.’s

Sur-Reply Br. in Opp’n to Pl.’s Mot. to Certify Class, at 11).

      The Court concludes that Jancik has carried her burden of showing

numerosity. Based on the evidence provided by the parties, “common sense”

suggests that the Class far, far exceeds the forty-person benchmark. See Riley,

254 F.R.D. at 458 (quoting Evans, 696 F.2d at 930). Jancik has shown through

WebMD’s records that there are at least 550,213 unique subscriber emails with

video-viewing activity on webmd.com. (Br. in Supp. of Pl.’s Mot. to Certify

Class, at 13). Although the number of individuals who ultimately had a

Facebook account and had their PII shared will be smaller than this 550,213

figure due to certain user settings, the proffered evidence is sufficient for this

Court to make the reasonable inference that the proposed Class is numerous.

There will inevitably be some unknowns in estimating class size when the

Plaintiff cannot yet possess the records critical to determining the actual size,

but it seems unreasonable to conclude at this stage that numerosity is unmet.

Once Meta is subpoenaed, it appears that the actual number of Class members

can be determined relatively quickly. The Court anticipates this number will


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be quite large and likely numbering at least in the tens of thousands. Other

courts have reached findings of numerosity with seemingly similar unknowns. 5

See, e.g., Drossin v. Nat’l Action Fin. Servs., Inc., 255 F.R.D. 608, 615 (S.D. Fla.

2009) (finding numerosity met based on a “reasonable estimate” of the number

of potential class members who received a certain message over the phone,

though the Court recognized some unknown number of individuals would not

have heard the message due to not answering the phone, hanging up the

phone, or other reasons); Bouton v. Ocean Props., Ltd., 322 F.R.D. 683, 697

(S.D. Fla. 2017) (finding numerosity met where the plaintiff showed that the

universe of potential class members totaled approximately 5,000, though the

actual number would be limited—to an unknown extent—to those “who

requested a folio at the front desk”).

       Moreover, the facts of the present case support a stronger case for

numerosity compared to those presented in Martinez for two additional

reasons. For one, the starting number of subscribers who viewed a relevant




       5 The Court additionally notes that the case underlying the reasoning

in Martinez, Vega, 654 F.3d 1256, merely found that it was impermissible to
find numerosity where (1) a proposed class included T-Mobile sales associates
in Florida who experienced certain problems with receiving their commissions
but where (2) the plaintiffs had only provided testimony that T-Mobile sales
associates across the country numbered “in the thousands.” Id. at 1264, 1267.
The Vega court suggested that the plaintiffs needed to at least make a showing
of the number of T-Mobile sales associates in Florida (even if data was not
available on the number of associates who experienced problems with their
commission). See id. at 1268. That required showing was indeed a low bar.
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video in Martinez (35,845), 2024 WL 436740, at *6, was substantially smaller

than in the present case (550,213), (Br. in Supp. of Pl.’s Mot. to Certify Class,

at 13), making it more likely that this proposed Class is in fact numerous.

Second, the fact that WebMD directed the Facebook Pixel to transmit

subscribers’ email addresses along with their Event Data helps alleviate three

of the six unknown variables that were at issue in Martinez. The Martinez

court found that PII was not transmitted to Facebook if subscribers who viewed

a video were not simultaneously (1) logged into their own Facebook accounts

on the same (2) device and (3) browser. Martinez, 2024 WL 4367406, at *7–8.

But, here, WebMD appears to have utilized an “Advanced Matching” process

in which Facebook may still have associated Event Data with individual

Facebook profiles—based on the email addresses WebMD provided—even if

the user was never logged into Facebook. (See Br. in Supp. of Pl.’s Mot. to

Certify Class, at 3; Reply Br. in Supp. of Pl.’s Mot. to Certify Class, at 7). This

assuages the Court’s concern that presently unknown variables could reduce

the Class size so immensely.

      The Court is persuaded that joinder is further made impracticable due

to the anticipated geographic diversity of the proposed Class—given that

anyone across the country can access WebMD’s website—and the ability to

achieve seemingly significant judicial economy with a class action—given

joinder may likely require individually subpoenaing Meta for each


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subsequently joined plaintiff. See Crittenden, 337 F.R.D. at 447 (quoting Kilgo,

789 F.2d at 878); Amos v. Advanced Funding, Inc., 2007 WL 9701551, at *5

(N.D. Ga. Jan. 16, 2007) (quoting Johnson v. Montgomery Cnty. Sheriff’s Dep’t,

99 F.R.D. 562, 564 (M.D. Ala. 1983) (regarding “judicial economy” as a “key”

factor)). The Court notes that it appears neither of these factors were

considered by the Martinez court.

      Lastly, the Eleventh Circuit has instructed courts to strike a balance “in

favor of” numerosity since the parties can always move to de-certify the class

later. See Crittenden, 337 F.R.D. at 447 (quoting Evans, 696 F.2d at 930). In

the highly unusual circumstance that the records produce very few actual

Class members, the Court could consider a motion to de-certify the Class. But

at this class certification stage, the Court is comfortable concluding that Jancik

has made a sufficient showing of numerosity.

      3. Commonality

      A proposed class satisfies the commonality requirement if “there are

questions of law or fact common to the class.” Fed. R. Civ. P. 23(a)(2). The

claims of the proposed Class “must depend upon a common contention . . . . of

such a nature that it is capable of classwide resolution—which means that

determination of its truth or falsity will resolve an issue that is central to the

validity of each one of the claims in one stroke.” Wal-Mart, 564 U.S. at 350; see

also id. (“What matters . . . is . . . the capacity of a class-wide proceeding to


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generate common answers apt to drive the resolution of the litigation.” (citation

omitted)). Rule 23(a)(2) is a “low hurdle,” Williams v. Mohawk Indus., Inc., 568

F.3d 1350, 1356 (11th Cir. 2009), and a plaintiff need only show that one

common contention exists, id. at 1355 (“Commonality requires ‘that there be at

least one issue whose resolution will affect all or a significant number of the

putative class members.’” (citation omitted)).

        Here, it is clear that at least one common contention exists regarding all

class   members,     including    (1) whether   the   Facebook    Pixel   disclosed

video-viewing behavior to Facebook, (2) whether that behavior or any other

data constitutes PII, and (3) whether class members consent to those

disclosures under the terms of the Video Privacy Protection Act. (See Br. in

Supp. of Pl.’s Mot. to Certify Class, at 15). Litigating a class action suit would

produce common answers to these questions, and each of these answers will

“drive the resolution of the litigation” and “affect all . . . putative class

members.” See Wal-Mart, 564 U.S. at 350; Williams, 568 F.3d at 1355.

        WebMD argues that “individual differences such as privacy settings,

device usage, and account sharing . . . impede the generation of common

answers. (Def.’s Resp. Br. in Opp’n to Pl.’s Mot. to Certify Class, at 20; see also

id. (“Plaintiff’s claims will require an individualized inquiry; thus, certification

must be denied for lack of commonality.”)). However, the Court agrees with

Jancik that the proposed Class is “defined with reference to whether Meta has


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the relevant Event Data in its possession.” (Reply Br. in Supp. of Pl.’s Mot. to

Certify, at 12). It thus does not matter whether an individual had a specific

privacy, cookie, or other setting that blocked the Facebook Pixel from

automatically transmitting Event Data to Facebook because the Class is

limited in scope to only those individuals for which Facebook has available

Event Data. (Id.; see also id. at 13 (“If Meta has Event Data showing that a

particular user watched a particular video on webmd.com, that is absolute

proof of a violation because there is no other way that Meta would have that

data.”)). In other words, Jancik’s proposed class definition appears to

circumvent the issues raised by WebMD regarding commonality. Therefore,

the Court finds the commonality requirement met.

      4. Typicality

      “The claim of a class representative is typical if ‘the claims or defenses

of the class and the class representative arise from the same event or pattern

or practice and are based on the same legal theory.’” Williams, 568 F.3d at 1357

(citation omitted). “A class representative must possess the same interest and

suffer the same injury as the class members in order to be typical under

Rule 23(a)(3).” Id. (quoting Murray v. Auslander, 244 F.3d 807, 811 (11th Cir.

2001)).

      Here, the claims of named Plaintiff Jancik are clearly typical of the

proposed Class. Just like other class members, Jancik supposedly “watched


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videos on webmd.com” during the relevant time period, and WebMD used the

Facebook Pixel to collect her video-viewing activity and other PII and transmit

that data to Facebook. (Br. in Supp. of Pl.’s Mot. to Certify Class, at 16). Thus,

Jancik’s claims “are based on the same legal theory” as the proposed Class as

a whole. See Williams, 568 F.3d at 1357.

      WebMD contends that Jancik is not in the “same shoes” as other class

members because “no PII about Plaintiff was transferred from the Website” to

Facebook. (Def.’s Resp. Br. in Opp’n to Pl.’s Mot. to Certify Class, at 15). To

support this contention, WebMD points to rows in Jancik’s Event Data that

note “0” and “FALSE” for a column with the label “has_user_PII_data.” (Id.).

However,     as      Jancik   points   out,   WebMD       misunderstands      the

“has_user_PII_data” column. (Reply Br. in Supp. of Pl.’s Mot. to Certify Class,

at 7). To the best of the Court’s understanding, the output in the

“has_user_PII_data” column depends on how the Event Data is matched to a

Facebook profile, not on whether WebMD disclosed PII for that user. (Id. at 7

(further explaining the intricacies of the “has_user_PII_data” column”)).

Without diving too far into the specifics of this data point, the Court finds it

sufficient to note that Facebook was able to produce Plaintiff Jancik’s Event

Data despite the “0” and “FALSE” values for her “has_user_PII_data” column,

thus appearing to moot WebMD’s concern that none of Jancik’s PII was shared

to Facebook. (Id.)


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      WebMD additionally contends that Plaintiff Jancik is not typical

because Facebook produced her Event Data based on Jancik’s Facebook ID

while Facebook would supposedly produce the Event Data of other class

members based on class members’ email addresses. Because WebMD has not

shown why the difference is significant—other than as already addressed

above—the Court does not find this argument persuasive. Given all the above,

the Court thus finds that Plaintiff Jancik is typical of the proposed Class.

      5. Adequacy

      The adequacy requirement tests “(1) whether any substantial conflicts

of interest exist between the representatives and the class; and (2) whether the

representatives will adequately prosecute the action.” Doe v. MG Freesites,

LTD, 707 F. Supp. 3d 1157, 1174 (N.D. Ala. 2023) (quoting Valley Drug, 350

F.3d at 1189).

      Beyond arguing that proposed Class Counsel is inadequate because it

represents a class member that is atypical, WebMD does not dispute the

competency of proposed Class Counsel. Therefore, because the Court has

already found that Plaintiff Jancik is typical of the proposed Class, the Court

is not aware of any other reason why proposed Class Counsel would not

adequately represent the interests of the class. And, after further review of the

parties’ briefs and the firm resume of proposed Class Counsel [Doc. 84-13], the

Court agrees that (1) there appear to be no “substantial” (or any) conflicts of


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interest between Plaintiff Jancik and the other class members and (2) Class

Counsel has demonstrated it has sufficient qualifications to “adequately

prosecute” this case. MG Freesites, 707 F. Supp. 3d at 1174 (quoting Valley

Drug, 350 F.3d at 1189).

   B. Rule 23(b)(3)

      To certify a class under Rule 23(b)(3), a plaintiff must show that

“questions of law or fact common to class members predominate over any

questions affecting only individual members” and that “a class action is

superior to other available methods for fairly and efficiently adjudicating the

controversy.” Fed. R. Civ. P. 23(b)(3). Rule 23(b)(3) identifies four factors

relevant to this inquiry: (a) “class members’ interests in individually

controlling the prosecution or defense of separate actions”; (b) “the extent and

nature of any litigation concerning the controversy already begun by or against

class members”; (c) “the desirability or undesirability of concentrating the

litigation of the claims in the particular forum”; and (d) “the likely difficulties

in managing a class action.” Fed. R. Civ. P. 23(b)(3)(A)–(D). As part of the

analysis on “managing” class actions, courts must consider administrative

feasibility. Cherry, 986 F.3d at 1303–04. But plaintiffs need not prove

administrative feasibility “in an absolute sense”; rather, “[t]he manageability

inquiry focuses on whether a class action ‘will create relatively more

management problems than any of the alternatives.” Id. at 1304 (citing Klay,


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382 F.3d at 1273).

      The Court holds that Jancik has shown predominance and superiority.

Regarding predominance, the Court agrees that Jancik will use “common

evidence that will not differ in the slightest from one class member to another”

in proving each element of the VPPA claim. (Br. in Supp. of Pl.’s Mot. to Certify

Class, at 18). The elements include whether webmd.com subscribers are

“consumers,” WebMD is a “video tape service provider,” the type of data

transmitted   constitutes   “personally     identifiable   information,”   WebMD

“knowingly disclosed” such data, and WebMD obtained “informed, written

consent.” See 18 U.S.C. §§ 2710(a)(1), 2710(a)(3)–(4), 2710(b)(1)–(2). Moreover,

as Jancik explains, the VPPA provides for statutory damages of $2,500, further

easing the question of individualized damages. See id. § 2710(c). WebMD

attempts to argue that a “manual, individualized review” of each potential

Class member’s data will be necessary, (see Def.’s Resp. Br. in Opp’n to Pl.’s

Mot. to Certify Class, at 22; Def.’s Sur-Reply in Opp’n to Pl.’s Mot. to Certify

Class, at 12), but the Court disagrees. As explained above in the

ascertainability section, the production of Event Data anticipated from Meta

should clearly reveal the individuals from which Meta received video-viewing

data (accounting for device, browser, and other settings). (Reply Br. in Supp.

of Pl.’s Mot. to Certify Class, at 11–12 & 11 n.6). And a class action

administrator can take care of any further quality assurance checks (e.g.,


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whether a video embedded on a webpage loads an error message) and claims

process verifications.

      Regarding superiority, the Court agrees that “a class action here is

superior to hundreds of thousands of individual cases or joinder.” (Br. in Supp.

of Pl.’s Mot. to Certify Class, at 19). Thus far, no class members have expressed

interest in litigating this case through separate actions; no other pending cases

appear to address the current controversy; no one has suggested that Georgia,

being where WebMD is located, is an inappropriate forum; and no significant

manageability concerns appear to outweigh the manageability concerns that

would exist if this case was litigated through separate actions. (Id. at 19–20).

WebMD argues that “class treatment is not superior, because . . . each putative

class member would need to individually prove that his or her PII was captured

and shared with Meta.” (Resp. Br. in Opp’n to Pl.’s Mot. to Certify Class, at 24;

see also Def.’s Sur-Reply Br. in Opp’n to Pl.’s Mot. to Certify Class, at 13

(asserting same)). For the same reasons discussed above, that argument is

unavailing. Therefore, the Court hereby certifies the proposed Class under

Rule 23(b)(3).

   C. Rule 23(b)(2)

      Although the Court has held that certification under Rule 23(b)(3) is

appropriate, Jancik may seek certification under Rule 232(b)(2) as well.

Wal-Mart, 564 U.S. 360. Rule 23(b)(2) certification is available if WebMD “has


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acted or refused to act on grounds that apply generally to the class, so that

final injunctive relief or corresponding declaratory relief is appropriate

respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). “A declaratory or

injunctive relief class pursuant to Rule 23(b)(2) is appropriate only if ‘the

predominant relief sought is injunctive or declaratory.’” DWFII Corp. v. State

Farm Mut. Auto Ins. Co., 469 F. App’x 762, 765 (11th Cir. 2012) (quoting

Murray, 244 F.3d at 812 (citation omitted)). The monetary relief must be

incidental to the injunctive or declaratory relief. See Murray, 244 F.3d at 812

(citation omitted)). “Monetary damages are incidental when ‘class members

automatically would be entitled [to them] once liability to the class . . . as a

whole is established[,]’ and awarding them ‘should not entail complex

individualized determinations.’” DWFII Corp., 469 Fed. App’x at 765

(alterations in original) (quoting Murray, 244 F.3d at 812).

      Here, Jancik seeks an injunction “as is necessary to protect the interests

of Plaintiffs and the Class by requiring [WebMD] to comply with VPPA’s

requirements for protecting a consumer’s PII” and a declaration that WebMD’s

conduct violates the VPPA. (3d Am. Compl. ¶ 101). Jancik argues that any

monetary damages sought would be “incidental” due to the $2,500 statutory

damages required by the VPPA. (Br. in Supp. of Pl.’s Mot. to Certify Class, at

20). WebMD argues that Jancik’s request is “vague on what injunctive or

declaratory relief is sought or how that would be effectuated.” (Def.’s Resp. Br.


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in Opp’n to Pl.’s Mot. to Certify Class, at 25). It also argues that enjoining

WebMD is unnecessary because webmd.com visitors are the ones who

“primarily” control whether their data is shared; they can, for example, opt out

of subscriptions; adjust device, browser, or Facebook settings; or deactivate

their Facebook accounts. (Id.; Def.’s Sur-Reply Br. in Opp’n to Pl.’s Mot. to

Certify Class, at 13–14; see also id. at 14 (suggesting an injunction would

intrude on subscribers who consented to the sharing of their PII)). The Court

addresses these arguments below.

      The Court agrees with Jancik that certification under Rule 23(b)(2) is

appropriate. The Court does not find Jancik’s request for declaratory or

injunctive relief overly vague. As Jancik explains, WebMD is still supposedly

using the Facebook Pixel in a way that may violate the VPPA, (Reply Br. in

Supp. of Pl.’s Mot. to Certify Class, at 10 n.4), and WebMD could be enjoined

to either stop using the Pixel in this violative manner or to obtain informed

consent compliant with the VPPA, (id. at 15 n.8). Additionally, Jancik has

shown that monetary damage can be fairly characterized as “incidental” under

the Eleventh Circuit’s description. Class members would “automatically” be

entitled to $2,500 in statutory damages “once liability to the class . . . as a

whole is established.” DWFII Corp., 469 Fed. App’x at 765 (quoting Murray,

244 F.3d at 812). And the $2,500 figure set by the VPPA means that “there will

be no individual damage determinations.” (Reply Br. in Supp. of Pl.’s Mot. to


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Certify Class, at 15; see also id. (citing DWFII Corp., 469 Fed. App’x at 765

(stating that awarding damages in a Rule 23(b)(2) class may “not entail

complex individualized” damage determinations)). Additionally, the Court is

not convinced by WebMD’s arguments that injunctive relief is unnecessary

since individual Class members could adjust their personalized settings.

WebMD cites no authorities regarding the relevance or importance of this fact,

and it does not appear particularly relevant given that an injunction could

potentially remedy WebMD’s continued use of the Facebook Pixel “for the class

as a whole.” See Fed. R. Civ. P. 23(b)(2). Therefore, the Court hereby certifies

the proposed Class under Rule 23(b)(2).

   D. Class Representative and Class Counsel

      The Court hereby appoints Plaintiff Linda M. Jancik as Class

Representative. According to Rule 23(g)(1), the Court must also appoint Class

Counsel. Fed. R. Civ. P. 23(g)(1). Plaintiff’s counsel satisfies the adequacy

requirement of Rule 23(a)(4), and the firm’s resume otherwise supports a

finding that Plaintiff’s counsel possesses the experience, knowledge, and

financial resources to adequately and fairly represent the interests of both the

named Plaintiff and the Class. See Fed. R. Civ. P. 23(b)(1)(A). Therefore, the

Court appoints Plaintiff’s counsel as Class Counsel in this case.




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                               IV.    Conclusion

      For the foregoing reasons, Plaintiff Linda M. Jancik’s Motion to Certify

Class [Doc. 83] is GRANTED. The Court appoints Plaintiff Jancik as Class

Representative and Plaintiff’s counsel as Class Counsel.

      SO ORDERED, this        20th     day of February, 2025.


                                             __________________________ ___
                                             THOMAS W. THRASH, JR.
                                             United States District Judge




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